       Case: 1:05-cr-00087-SA-DAS Doc #: 29 Filed: 08/22/05 1 of 2 PageID #: 42




                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                EASTERN DIVISION

UNITED STATES OF AMERICA,

VS.                                            CRIMINAL ACTION NO. 1:05CR87-P-D

SHERRY LOUCH, a/k/a SHERRY
LOUGH, a/k/a SHERRY MILLS and
PERRY BROOKS,                                                               DEFENDANTS.

                                              ORDER

       This matter comes before the court upon Defendant Sherry Louch’s Motion to Continue Trial

Setting [28-1]. Upon due consideration of the motion the court finds as follows, to-wit:

       Trial is currently set for October 3, 2005. Defense counsel avers that he has a previously

scheduled trial set for October 3, 2005 in the Circuit Court of Tate County, Mississippi.

       The above circumstances enable the Court to exclude, pursuant to 18 U.S.C. section

3161(h)(8)(A), the period of delay from October 3, 2005 until the new trial date to be set in this

matter. The time is excludable under subsection (h)(8)(A) because, given the circumstances

described above, a continuance is necessary to afford the defendant’s counsel more time to defend

his client As such, the ends of justice served by the granting of this continuance outweigh the best

interests of the public and the defendant in a speedy trial.

       IT IS THEREFORE ORDERED AND ADJUDGED that:

       (1)     Defendant Sherry Louch’s Motion to Continue Trial Setting [28-1] is hereby

GRANTED;

       (2) Trial of this matter as to all defendants is continued until Monday, November 14, 2005

       at 9:00 a.m. in the United States Courthouse in Greenville, Mississippi;


                                                  1
      Case: 1:05-cr-00087-SA-DAS Doc #: 29 Filed: 08/22/05 2 of 2 PageID #: 43




      (3) The delay from October 3, 2005 to November 14, 2005 is excluded as set out above;

      (4) The deadline for filing pretrial motions is October 24, 2005; and

      (5) The deadline for submitting a plea agreement is October 31, 2005.

SO ORDERED, this 19th day of August, A.D., 2005.


                                                   /s/ W. Allen Pepper, Jr.
                                                   W. ALLEN PEPPER, JR.
                                                   UNITED STATES DISTRICT JUDGE




                                               2
